      Case 12-19328-elf       Doc 35    Filed 02/18/18 Entered 02/19/18 00:56:54              Desc Imaged
                                       Certificate of Notice Page 1 of 3
                                      United States Bankruptcy Court
                                    Eastern District of Pennsylvania
In re:                                                                                  Case No. 12-19328-elf
Maryrose Celia                                                                          Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0313-2           User: Virginia               Page 1 of 2                   Date Rcvd: Feb 16, 2018
                               Form ID: 138NEW              Total Noticed: 53


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 18, 2018.
db             +Maryrose Celia,    2428 S. Warnock Street,     Philadelphia, PA 19148-3636
12877743       +AT&T Mobility with Southwest Credit,      4120 International Pkwy. Suite 1100,
                 Carrollton, TX 75007,     PO BOX 537104,    Atlanta, GA 30353-7104
12877744       +Barclays Bank Delaware,     Attention: Bankruptcy,    PO Box 1337,    Philadelphia, PA 19105
12877745       +Bill me Later. a PayPal Service,     PO BOX 105658,    Atlanta, GA 30348-5658
12877746       +Cap1/bstby,    Po Box 5253,    Carol Stream, IL 60197-5253
12930111        Capital One Bank (USA), N.A.,     PO Box 71083,    Charlotte, NC 28272-1083
12877747       +Capital One, N.a.,    Capital One Bank (USA) N.A.,     PO Box 30285,
                 Salt Lake City, UT 84130-0285
12877748       +Chase,    Po Box 15298,    Wilmington, DE 19850-5298
12877751       +Columbia House DVD Club,     PO BOX 91601,    Rantoul, IL 61866-8601
12877752       +Comcast Cable,    11400 Northeast Avenue,     Philadelphia, PA 19116-3498
12877754      ++DELL FINANCIAL SERVICES,     P O BOX 81577,    AUSTIN TX 78708-1577
               (address filed with court: Dell Preferred Account,       PO BOX 6403,    CAROL STREAM, IL 60197)
12934314       +Department Stores National Bank/Macys,      Bankruptcy Processing,    Po Box 8053,
                 Mason, OH 45040-8053
12877755       +Dsnb Macys,    9111 Duke Blvd,    Mason, OH 45040-8999
12877756       +Equifax,    P.O. Box 740241,    Atlanta, GA 30374-0241
12877757       +Experian,    Profile Maintenance,    P.O. Box 9558,    Allen, Texas 75013-9558
12877761       +Masseys,    PO BOX 2822,    Monroe, WI 53566-8022
12877763        PA Dept. of Revenue,     Bankruptcy Division,    Bureau of Compliance,    P.O. Box 280946,
                 Harrisburg, PA 17120-0946
12877765       +Sunrise Credit Service,     7 Penn Plz,    New York, NY 10001-3967
12877766      ++T MOBILE,    C O AMERICAN INFOSOURCE LP,     4515 N SANTA FE AVE,    OKLAHOMA CITY OK 73118-7901
               (address filed with court: T-Mobile USA,       PO Box 742596,    Cincinnati, OH 45274)
12877767       +Target National Bank,     213 E. Main Street,    Carnegie, PA 15106-2701
12877769       +Tnb-Visa (TV) / Target,      C/O Financial & Retail Services,     Mailstop BV   P.O.Box 9475,
                 Minneapolis, MN 55440-9475
12877770       +Trans Union Corporation,     Public Records Department,    555 West Adams Street,
                 Chicago, IL 60661-3631
12877771       +Victoria’s Secret,    Attention: Bankruptcy,     PO Box 182125,    Columbus, OH 43218-2125
13021127       +Wells Fargo Bank, N.A.,     Attention: Bankruptcy Department,     MAC # D3347-014,
                 3476 Stateview Boulevard,     Fort Mill, SC 29715-7203
12877772        Wells Fargo Hm Mortgag,     7255 Baymeadows Wa,    Des Moines, IA 50306
12877773       +Wells Fargo Mortgage,     4680 Hallmark Parkway,    San Bernardino, CA 92407-1816
12877774       +Wfcb/Blair,    P.O. Box 182125,    Columbus, OH 43218-2125
12877775       +Wfnnb/metro,    Attention; Bankruptcy,     PO Box 182685,    Columbus, OH 43218-2685
12877776       +Wfnnb/woman,    Attention: Bankruptcy,     PO Box 182685,    Columbus, OH 43218-2685

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: bankruptcy@phila.gov Feb 17 2018 02:44:47        City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us Feb 17 2018 02:43:56
                 Pennsylvania Department of Revenue,     Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Feb 17 2018 02:44:44        U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,    Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
cr              E-mail/PDF: gecsedi@recoverycorp.com Feb 17 2018 02:49:24        GE Capital Retail Bank,
                 c/o Recovery Management Systems Corporat,     25 SE 2nd Avenue, Suite 1120,
                 Miami, FL 33131-1605
12901501       +E-mail/Text: bncmail@w-legal.com Feb 17 2018 02:44:43       AZUREA I, LLC,
                 C O WEINSTEIN AND RILEY, PS,    2001 WESTERN AVENUE, STE 400,     SEATTLE, WA 98121-3132
12881914        E-mail/PDF: EBN_AIS@AMERICANINFOSOURCE.COM Feb 17 2018 02:56:13
                 American InfoSource LP as agent for,     T Mobile/T-Mobile USA Inc,    PO Box 248848,
                 Oklahoma City, OK 73124-8848
12880006        E-mail/PDF: EBN_AIS@AMERICANINFOSOURCE.COM Feb 17 2018 02:56:24
                 American InfoSource LP as agent for,     Midland Funding LLC,    PO Box 268941,
                 Oklahoma City, OK 73126-8941
12909018        E-mail/PDF: rmscedi@recoverycorp.com Feb 17 2018 02:50:00
                 Bureaus Investment Group Portfolio No 15 LLC,     c/o Recovery Management Systems Corp,
                 25 SE 2nd Avenue Suite 1120,    Miami FL 33131-1605
12877750        E-mail/Text: bankruptcy@phila.gov Feb 17 2018 02:44:47        City of Philadelphia,
                 Bankruptcy Unit,    15th Floor,   1515 Arch Street,    Philadelphai, PA 19102
12877749       +E-mail/Text: ecf@ccpclaw.com Feb 17 2018 02:43:35       Cibik and Cataldo, P.C.,
                 1500 Walnut Street,    Suite 900,   Philadelphia, PA 19102-3518
12877753       +E-mail/Text: bankruptcy@sccompanies.com Feb 17 2018 02:45:30        Country Door Inspirations,
                 1112 7th Avenue,    Monroe, WI 53566-1364
12887403        E-mail/PDF: gecsedi@recoverycorp.com Feb 17 2018 02:49:56        GE Capital Retail Bank,
                 c/o Recovery Management Systems Corp,     25 SE 2nd Ave Suite 1120,    Miami FL 33131-1605
12877758       +E-mail/PDF: gecsedi@recoverycorp.com Feb 17 2018 02:48:55        Gemb/JC Penny,
                 Attention: Bankruptcy,     PO Box 103104,    Roswell, GA 30076-9104
12877759       +E-mail/Text: paparalegals@pandf.us Feb 17 2018 02:45:27        Gregg Morris, Esquire,
                 213 E. Main Street,    Carnegie, PA 15106-2701
        Case 12-19328-elf            Doc 35      Filed 02/18/18 Entered 02/19/18 00:56:54                          Desc Imaged
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District/off: 0313-2                  User: Virginia                     Page 2 of 2                          Date Rcvd: Feb 16, 2018
                                      Form ID: 138NEW                    Total Noticed: 53


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
12877760        E-mail/Text: cio.bncmail@irs.gov Feb 17 2018 02:43:43       I.R.S.,    P.O. Box 7346,
                 Philadelphia, PA 19101-7346
12940514        E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Feb 17 2018 02:49:48
                 Portfolio Recovery Associates, LLC,    POB 41067,    Norfolk VA 23541
13035399       +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Feb 17 2018 03:11:14
                 PRA Receivables Management, LLC,    POB 41067,    Norfolk, VA 23541-1067
12886149        E-mail/Text: bnc-quantum@quantum3group.com Feb 17 2018 02:43:51
                 Quantum3 Group LLC as agent for,    Comenity Bank,    PO Box 788,    Kirkland, WA 98083-0788
12880677        E-mail/PDF: rmscedi@recoverycorp.com Feb 17 2018 02:50:01
                 Recovery Management Systems Corporation,    25 S.E. 2nd Avenue, Suite 1120,
                 Miami, FL 33131-1605
12877764       +E-mail/Text: bankruptcy@sccompanies.com Feb 17 2018 02:45:30        Seventh Avenue,
                 1112 7th Avenue,   Monroe, WI 53566-1364
12889158       +E-mail/Text: bncmail@w-legal.com Feb 17 2018 02:44:32       TARGET NATIONAL BANK,
                 C O WEINSTEIN AND RILEY, PS,   2001 WESTERN AVENUE, STE 400,      SEATTLE, WA 98121-3132
13011708        E-mail/Text: bankruptcy@td.com Feb 17 2018 02:44:26       TD Bank N.A.,    Attn: Bankruptcy Dept.,
                 ME2-002-035,   P.O. Box 9547,    Portland, ME 04112-9547
12877768        E-mail/Text: bankruptcy@td.com Feb 17 2018 02:44:26       Td Bank N.a.,    32 Chestnut Street,
                 Lewiston, ME 04240
13001254       +E-mail/Text: bncmail@w-legal.com Feb 17 2018 02:44:32       TD Bank USA, N.A.,
                 c/o Weinstein & Riley, P.S.,   2001 Western Ave., Ste. 400,     Seattle, WA 98121-3132
                                                                                               TOTAL: 24

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
12877762          Metabnk/fhut
cr*              +PRA Receivables Management, LLC,   POB 41067,   Norfolk, VA 23541-1067
cr*              +TD Bank USA, N.A.,   c/o Weinstein & Riley, P.S.,   2001 Western Ave., Ste. 400,
                   Seattle, WA 98121-3132
                                                                                              TOTALS: 1, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 18, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 16, 2018 at the address(es) listed below:
              MATTHEW GREGORY BRUSHWOOD   on behalf of Creditor   Wells Fargo Bank, N.A. paeb@fedphe.com
              MICHAEL A. CATALDO2   on behalf of Debtor Maryrose Celia ecf@ccpclaw.com,
               cataldomr70146@notify.bestcase.com
              MICHAEL A. CIBIK2   on behalf of Debtor Maryrose Celia ecf@ccpclaw.com,
               cibikmr70146@notify.bestcase.com
              United States Trustee   USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM C. MILLER, Esq.   ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                            TOTAL: 5
  Case 12-19328-elf          Doc 35    Filed 02/18/18 Entered 02/19/18 00:56:54                   Desc Imaged
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                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Maryrose Celia
               Debtor(s)                                  Bankruptcy No: 12−19328−elf
                                                          Chapter: 13
_____________________________________________________________________________________________
                                           NOTICE



To the debtor, debtor's counsel, trustee, and all creditors and parties in interest, NOTICE IS GIVEN THAT:


        1. The Standing Chapter 13 Trustee has filed his final report and account.
        2. Any answer, objection, responsive pleading or request for hearing with regard to the discharge
        of the debtors, including any request to delay the entry of discharge pursuant to 11 U.S.C.
        §1328(h), must be filed in writing with the Clerk of the U.S. Bankruptcy Court,

                        900 Market Street
                        Suite 400
                        Philadelphia, PA 19107

        within 30 days from the date of this notice.



        3. In the absence of any objection, the Court may enter the Order of Discharge.




                                                           For The Court

                                                           Timothy B. McGrath
                                                           Clerk of Court

Dated: 2/16/18



                                                                                                                  34 − 33
                                                                                                            Form 138_new
